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AO 240 (Rev.07/10)ApplicationtoProceedinDistrictCourtWithoutPrepayingFeesorCosts(ShortForml

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                                            southernoistrictot-Florida                  Uv
                  StevenF.Helfand                                  )
                   maintg petitioner                               )
                         v.                                        ) CivilActionNo.                          ,
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       TravelersCommercialInsuranceCompany                         ) 15cv62465-WPD                       ,
                                                                                                             .   .        '        ks
                 De#ndantRespondent                                )                                     '
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       APPLICATIO N TO PROCEED IN DISTRICT COURT W ITHOUT PREPAYING FEES OR COSTS
                                                            (SIIOI'tForml
         lam aplaintifforrtitionerinthiscmseanddeclarethatIam unabletopaythecostsoftheseproceedingsand
thatlam entitledtö therellefrequested.
         In supportofthisapplication,Ianswerthefollowingquestionsunderpenaltyofperjury:
         1.Ifincarceratei Iam beingheldat:                                          Notincarcerated                                           .
lfemployed there,orhavean accountin the institutiow Ihaveattachedto thisdocumentastatementcertifiedby the
appropriateinstitutionaloffcershowingal1receiqts,expenditures,andbalancesduringthelastsixmonthsforany
institutionalaccountin my nnme. lam also subm ltting a sim ilarstatementfrom any otherinstitution whereIwms
incarcerated during thelastsix months.

         2.Ifnotincarcerated.lfIam employed,myemployer'snameandaddressare:
  Iam presently unemployed. Iam i
                                n processofhaving a disabilityapplication determined by SocialSecurity.


M y grosspay orwagesare: $                          0.00 ,and mytake-homepay orwagesare: $                                              0.00 per
 (spec# s -
          vperio+            notapplicable           .
         3.OtherIncome.lnthepast12 months,Ihavereceived incomefrom the following sources(checkallthatapplylt

       (a)Business,profession,orotherself-employment                     # Yes                    n No
       (b)Rentpayments,interest,ordividends                              O   Yes                  W No
       (c)Pension,annuity,orlifeinsumncepayments                         n   Yes                  F No
       (d)Disability,orworker'scompensationpayments                      O   Y es                 * No
       (e)Gihs,orinheritances                                            O   Yes                  # No
       (9 Anyothersources                                                O   Yes                  F No

        Ifyouanswered 'TIH ''toany questionabove,describebelow oronseparatepageseachsourceofmoneyand
statetheamountthatyoureceivedandwhatyouexpecttoreceiveinthefuture.
 $2,100. Thismoneywas paid forvariouslegalservices provided byapplicant.




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                                      nDistri
                                            ctCourtW itlmutPrepayingFeesorCostslshortFonnl

          4.Amountofmoneythatlhaveincmsh orin a checking orsavingsaccount: $                                      0.00 .

          5.Anyautomobile,realesute,stock,bond,security,trust,jewelry,artwork,orotherfinancialinstrumentor
thing ofvaluethatIownaincluding any item ofvalueheld insomeoneelse'snnme (describer/leprtl
                                                                                         perf.
                                                                                             panditsapproximate
value):
 Ihad many valuable items ofantiques. Manyofthe itemsweredestroyed bythe I
                                                                         oss and are worthviduallynothi    ng. I
 wasabletosalvagesomeitemsandsendthem toaudionatBonham'sSanFrancisco(thisincludesaVenetianTable,
 twoside-tables,and Venetianm lychromesconces) The Bonham'
                                                         saudionissetforFebruary,2016.Previtmsly,Ihad
 placed a TiffanyUack in Pulpi
                             tpvase ofconsiderable value and itisgoing to auctionatRago Audions in February,
2016(pam entto theextentitsellswouldbe30dayslaler).TheitemsatBonham'
                                                                   swereaIIdamagedbytheIossand
 Idoubttheywillsellformuch.The vase wasundamage . Ishallstipulate to paying anyfiling fees from these
 proceedsbtltsimpl
                 y do nothave the resourcesatthe presentmomenlto moveforward.Iexpectproceeds of$5k-$15k.
        6.Any housing,transportation,utilities,orloan payments,orotherregularmonthly expenses(describeandprovide
theamountofthemonthlyeaw axel'
                             .
 Ihaveagreedtoprovi dereimbursementtotheextenttherei   sarecoveryinthiscaseorwhenIori!disabili   tyis
 granted. Agreementis $1,4XX)-00 permonth forroom and board. lam rœ eiving SNAP benefits of$194.00.Iam a
 memberingoodstandingofthe State BarofCalifomia. Ihave been informally diagnosed with schizophrenia and
 depression inaddition tootherphysicalailmentsofan immunolœ i
                                                            calnature. AlIaspedsofmycondition were
 exacerabated bythe insurancecompany'sconduct;b01 phyicallyand emotionally. Isimplydo nothavethe resources.


          7.Names(or,ifunderl8,initialsonly)ofallpersonswhoaredependentonmeforsupm rtamyrelationship
witheach person,and how much1contzibuteto theirsupport:
None. Onthe contrary,Ihave beendependenton the supm rtoffamily and friends.




       8. Any debtsorfinancialobligations(describetheamountsowedandtowhom theytzrew -
                                                                                    m â/ez):
 Yes.AlIcredi
            tcards are maxed out-no collection since mostofmyphysicalitems ofvalue were damaged and/or
 destroyedintheIoss;twocardsarethesubjed ofIi    tigationthatiscontestedand disputedIto,wit,$10,000toAmerican
 Expressl.Seealso,$24,000to MercedesBenz-onedisputed I       astpaymentonaleaseoftwenty-fourmonthsafterthe
 stalled vehicle wascollecte bydealerfrom streetin Russian Hill:San Francisco.Otherdisputes totalling $20,000.
                                                                                                             00
 againstothercreditcards,vendorsand suppliers. Iam ina cash crunch butdo have personalassets -mostofwhich
 the value hasbeen obli
                      terated bythe claims atthe heartofthisIawsuit;i.e.,$14,000 sofa destroyed byloss;$7,500
 destroyed byIoss etc. Iam also uncomfortable parting wi
                                                       thevidencethatmay be necessary to provethis case. No
 otherfinancialobl!
                  l
                  gations and have soughtto partwithasfew damaged itemsasm ssi ble thalareclaimsrelate .
          Declaration ldeclareunderpenaltyofperjurythattheae veinformationistrueandunderstalldthatafalse
                       '
                       .

 statementmay resultin adism issalofmy claims.


 D ate:          11/20/2015                                                e
                                                                                             Applicant'
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                                                                                             Steven F.HeKand
                                                                                                Printed pa-e




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